Case 1:23-cv-22385-RKA Document 6-6 Entered on FLSD Docket 06/28/2023 Page 1 of 21




               SCHEDULE D
                                                                                 Case 1:23-cv-22385-RKA Document 6-6 Entered on FLSD Docket 06/28/2023 Page 2 of 21



                                                                                                                                                                                  Investigator Name: Chris Stavrou




                                                                                 Evidence Collection Report
   Page Title
   Edgy and Fun T-Shirt: Life is Good with Blood-Splattered Smiley Face | eBay

   URL
   https://www.ebay.com/itm/385460078688

   Collection Date
   Tue, 09 May 2023 09:52:54 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   185.230.113.27

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/112.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   YRjt+ED3L1GbAHeoRXGiG4reAXk3BfkmN43TjbiTJlTY2SH7tDZvouCr/SHJDb8qMuwmmDjaRFkUt+OBqvmkPFBGGZagL02Wx4+E1qRzX06pGZcaAuIOVTnvuLnIyKPTa8l11niHjnDlbrxkitaRbJUV08mGPW1YUHjMfopA3GY=




                                                                                                         File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.ebay.com[fs]itm[fs]385460078688]]_Tue,-09-May-2023-09-52-54-GMT.pdf

   Hash (SHA256)
   167b2d5794d5ab0eb21250dfedc2da8adc3269e8d5123e4cb435f10766527817

   Signature (PKCS#1v1.5)
EDYW9ERTPEKXHaV5l5JHDW/XOiC/iZuqBFcYryoCurDCQ2nr+Nth8uPS2jaabJwFRKJ368je45ZFOEW2wKS31Id/pRQ08b0/JoWgPpsXqx8UWiGm7wUuQWjxMczH7979tYjq0ZokRWkBUsP3GviMQVRbLpfzTjA+mspHZyXyHkk=
                                                                                 Case 1:23-cv-22385-RKA Document 6-6 Entered on FLSD Docket 06/28/2023 Page 3 of 21



                                                                                                                                                                                                        Investigator Name: Remmel Jae Inabangan




                                                                              Evidence Collection Report
   Page Title
   Checkout | eBay

   URL
   https://pay.ebay.com/rxo

   Collection Date
   Wed, 17 May 2023 21:33:13 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Remmel Jae Inabangan

   IP Address
   112.200.71.102

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   OIpD/5ovUGuswBOJEw77BS6MEd200zdLiptVlyDi8OT+8McPcFcTiHAWANLjhIKnZWJhedb5LK0R6abA3SnN+g0DeNIdlMVbu/kIDzCQ7bIJ/rTQR/Ro/FTY0elD9IdV+rRIQ7TJlPprvI0Xv
   +OE9JSuvRLMNoV6o5zlJQNzRp2tPIl7YRotY5vOtFokGvQiuN2k1H7oH5suLVpmZ9znzHcCA0C5MHgxcB4jbxkAm28h7z9/DK/H//QOi4uKjfTo5IuZwQBkwNtzErzjY8I+zTp8RzGFQ7C5tS5yFufRlc8AGdsVnfQJLvA+QkeuKBY2so3ZFo+hBWAAkulovm15Kg==




                                                                                                     File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]pay.ebay.com[fs]rxo]]_Wed,-17-May-2023-21-33-13-GMT.mhtml

   Hash (SHA256)
   0aa4eedb6c83d984fea449bc79aee0479866b880361e993861ed6c7f3887b081

   Signature (PKCS#1v1.5)
O0sQTzNTxmoNgoorFIeSaRtsGrODf25rF22Faa7JngOEbr770srvaTYExyA5+d+zwxhEIAsHv9Xk1spwhdeS5k1g1Qs9JnChoevwdbzaVHVuolDkEI9W+s93OzdhBcupYLi0My1RhvQicJW9ci4j3KXS+XpuLPHxo9o1kwdSHuqPIoybF9+Eyh+Ss7tU4uGP5Q/w5OOaj4AyyrJXIAXDgU2aJp
+C0NYE5QXmgk+nPxoX/z24i3UWOSQpiiHSif5wweoexy6fxS18c9adpnr+08/RTd7X1QVDHIdMg3i/ux0oLNQHzR0SluATc+Q48w3xrstCJP9+cmuZVAi4iUQI5Q==
                                                                                Case 1:23-cv-22385-RKA Document 6-6 Entered on FLSD Docket 06/28/2023 Page 4 of 21



                                                                                                                                                                                  Investigator Name: Chris Stavrou




                                                                             Evidence Collection Report
   Page Title
   60 Pcs 6×10mm Yellow Smiley Face Beads Jewellery Making Xmas Gift ACL25 | eBay

   URL
   https://www.ebay.com/itm/334550046334

   Collection Date
   Wed, 10 May 2023 08:20:17 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   185.230.113.27

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/112.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   n4STgWSc2PkuVAAstVxN8v5ciIPMkaDekuC5/K5NNnREXiTePVllXAkZ9E7i8B5jG29/fLueq/azUxL0sqTn2xzURHpC34CKmn4NiSHddFXr4vjglBXrWxADSsjWLusZdD7+0V2d2NW89D4x6QeU5iGsP6KIN3vssbtWnpnIhgM=




                                                                                                         File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.ebay.com[fs]itm[fs]334550046334]]_Wed,-10-May-2023-08-20-17-GMT.pdf

   Hash (SHA256)
   0352156f64f7688ad732982a37f44a35fb74025dbc5f9686fce28371b70235e6

   Signature (PKCS#1v1.5)
WCmLJ7Q1SETtVHEH6xLMN/cHgo/w/G6EOX5ssnoR6798nkFBrw9oLYl+msAZEww51Nk19Y07iyYlZC0at2ccIYbv+HLLFZ6oFusP2XbFvJ8G1Y4PqMQsEiYlQCAgz4y6Vgw2I4UnuCj2lidFIUWOOCdcFT1drOagJ6wkcG0g9uo=
                                                                                  Case 1:23-cv-22385-RKA Document 6-6 Entered on FLSD Docket 06/28/2023 Page 5 of 21



                                                                                                                                                                                                     Investigator Name: Remmel Jae Inabangan




                                                                              Evidence Collection Report
   Page Title
   Checkout | eBay

   URL
   https://pay.ebay.com/rxo

   Collection Date
   Tue, 23 May 2023 15:13:01 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Remmel Jae Inabangan

   IP Address
   2001:4451:44ab:c300:e849:336c:b36b:9882

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   IHBZOijZiX7Mr72xeEtEALiQLqlUeGLZBOYk8N6AAwr1uw/4Rvmh0MpK2vvcVmhitB3kGAizWT2g1/nRa9OyhgaH069w3vEurH15uV3jKYDAAj+uPpcyhUTwPvCiHvbOQCmcNa4ZM18o+mL7vucuL1Qul7M7w5l1EF3JFUhaylNKuQj3aYQzTyokMSgPKwIl1rc24jXX+hCy
   +xIMWH8vNKpsVvy8bLQHahyZXp87MleydJBEycHkJ3IW4GDJ2tU6+rBpi9fmXDVnMFKtcFsovTUyGLejGVkOYxxr1D/KIDy/NT5ACZPUra0gfuVtI2pPZEUeFI1pv3MIZtvoWtps3Q==




                                                                                                     File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]pay.ebay.com[fs]rxo]]_Tue,-23-May-2023-15-13-01-GMT.mhtml

   Hash (SHA256)
   f3bfaa056c57436b9c226c931fc8e7532b4c061d0a511a0ec6604be84089ba55

   Signature (PKCS#1v1.5)
ihqvzlk+tUSpRyELUyPeIwYVQTFVr89yhn2wf46REEECh1idnwdqMBgKuB9SPfk5MfeOKCdGwmEZopdhmVawnOwVYFxcepzocWyLlssVTWVM4f7fuQFMCc9VLgVfUuIvtqDGD1ZwwRuURCWCgQQWA3iA83hiPFt1AOCbX8cl8s+UcRmy/
bF4uLeSF9V6fedtSn5HpsYWTFjG97w1j2tfcAYt3kqhv4O+GZbQPS8VfSei1jwe4LoMw7WWyhYt4A46Yu+PO0BqePKSPokOvreXTOwJ8GgQRvhqIuPOL4YtJ5WzT6Rt9RWaVW1eUu6hpqD6dUJsRpbPTJY0R0wwOZtdIw==
                                                                                      Case 1:23-cv-22385-RKA Document 6-6 Entered on FLSD Docket 06/28/2023 Page 6 of 21



                                                                                                                                                                                  Investigator Name: Chris Stavrou




                                                                                 Evidence Collection Report
   Page Title
   925 silver made with Swarovski crystal pendant chain necklace smiley face | eBay

   URL
   https://www.ebay.com/itm/404285766202

   Collection Date
   Tue, 13 Jun 2023 11:36:33 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   2001:ac8:24:80::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   IaxaOxsY1RPLzpkaQqKVcyyj4FRqyFVP8k1VEp4YLGfK2LGpXYPmGzWVsYMSpsS+LCjbmjXWLhEoZ15KDuLGvSXGmPbDARwrNPb+Fs8pJKBlJEfvSVR2ykg/O/NmnZuMUv/UZ82TvN6aVU7VRYcN4sq4BzMdothloyryuv4fx20=




                                                                                                         File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.ebay.com[fs]itm[fs]404285766202]]_Tue,-13-Jun-2023-11-36-33-GMT.pdf

   Hash (SHA256)
   163ea496ed09b92929ae630c902ac6db22120e81b56a866d9c983a4def0d43d0

   Signature (PKCS#1v1.5)
krOO33Thy5b13kZin9Uz3sedA0Qk8v+HITfEx+CF2zE1dDqnV86W1tEdAufnHVkma44p3Vn1qgEcOn5h7Q1UtSpGEzGfuQy7eLSHxRJBge1kJ4Sk3YQZqULD660P79ARtkLGLaA3YLNwnU/UvQga7elJXwvCQXlHsFWKfseW5jU=
                                                                                  Case 1:23-cv-22385-RKA Document 6-6 Entered on FLSD Docket 06/28/2023 Page 7 of 21



                                                                                                                                                                                                          Investigator Name: Abtahi Rakin




                                                                              Evidence Collection Report
   Page Title
   Checkout | eBay

   URL
   https://pay.ebay.com/rxo

   Collection Date
   Wed, 14 Jun 2023 09:00:32 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Abtahi Rakin

   IP Address
   27.147.190.179

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   TV7e41YcX3ApTQt7cobTp11tNT+jJHHrfxoWSYP/b8d3ISDpNuFw5NFE4OEE+01C41XGFL3nCPzMNY6fw9rBVuqelo4sW9MN3Qa11YI7scdDlKxGXhQvS744sgoLkqPmid4KeKiLMxDnMff9VRVmuT7RHH2yPJjNONw64QXjHfSQD2H9y0c2lwM79KAixLbtex6y
   +5egOJhruMTv9LpkGya9b16DH97USXoOZYH2rv0rk64Ebr7bG9etf4LZYHm0zekb0eE2o3R1pfaoutlWn1KOOeim2axbYuPlED0JjnOF/wJGji79u6k4HndelbK24x+ywgorGb9fUUXQFPA3QA==




                                                                                                     File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]pay.ebay.com[fs]rxo]]_Wed,-14-Jun-2023-09-00-32-GMT.mhtml

   Hash (SHA256)
   e943a21038fb20a4f6ab73d8de7aa542eddd0d5fc27dfa46291c23d5a9815da5

   Signature (PKCS#1v1.5)
N6M/7hL4qMwyAi+UiZmqeteLcZ306zDltw1GzkiMvfqTh0Idn7SwVlF1rtTKPIANqehbKOeai0kVOf/X8bSDcQbbpYARG80mJU9SOTV5bvAXcGozNvaW6Q8Et0fhMWrWDJ/aV37MaJUR5liXx7N4/zqohdW77q1m3nq2n4cKpVrw+xFRMTE8G6NEi6OISnx0TNRMmMbNXtt+eNVA/
CixkTr0lhVEbht8BtQHid5tWgae6FWUejFEwPN+97NPCQTXRWQ1NO75r27nQNqakFGmCbWGbConyGDdRx08KSky/GnWdWf/tqo59a+94sUx6S2+fKJegvrQVp0DOypjkb8l/g==
                                                                                Case 1:23-cv-22385-RKA Document 6-6 Entered on FLSD Docket 06/28/2023 Page 8 of 21



                                                                                                                                                                                  Investigator Name: Chris Stavrou




                                                                             Evidence Collection Report
   Page Title
   0.90Ct Round Cut Diamond Smiley Engagement Stud Earrings 14K Yellow Gold Finish | eBay

   URL
   https://www.ebay.com/itm/314039180168

   Collection Date
   Wed, 10 May 2023 09:47:33 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   185.230.113.27

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/112.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   mylD+Bb2RRWFGa/oG0gnW75KRhjq71XQmHui398jAQXa15pB1OQ1agPCDVKr/W5bpP8eH8jgep8av+p7XsoSDhkEdXPtHa21U4bsGc8CN4UY1wFiDcxl8HGOrr2yqSqZ8PfLU84+EYs39PZh6EBBO/dEKh3QW962uX1emrx7DAs=




                                                                                                         File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.ebay.com[fs]itm[fs]314039180168]]_Wed,-10-May-2023-09-47-33-GMT.pdf

   Hash (SHA256)
   9d62c68e06075abb426943ea311336074c2c4147f77375d6eea903ae05153e9a

   Signature (PKCS#1v1.5)
knfgGFREd9OWCp72cINJPW2JKpey+ud6TOKOhNVYO2OURfs65HSkA9sY2n9yn2bYovBUFVbm82SxH5/zyhG2hjaVtfnvyOeRRzUpbhxG/Gqi0JpzBCRKWM1WRWjZCoHfnATkn53PfD/UWL5jgQAbUnQi8z1Bmz5TKerMjT1wzZc=
                                                                                  Case 1:23-cv-22385-RKA Document 6-6 Entered on FLSD Docket 06/28/2023 Page 9 of 21



                                                                                                                                                                                                      Investigator Name: Remmel Jae Inabangan




                                                                              Evidence Collection Report
   Page Title
   Checkout | eBay

   URL
   https://pay.ebay.com/rxo

   Collection Date
   Tue, 23 May 2023 20:10:27 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Remmel Jae Inabangan

   IP Address
   112.200.71.102

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   iez60xgu8p8GErBZ8deQtkYLuS+KfWHB8wSBZjjZAQRCirp9XE1I3tWt68qrRkNpkTGVmMRp3iUHaTUa64Sopg5nNGEVdA9U1Pos8GB/U+mnt1wBQq2XuDwQIS0ioqi2uhTVCYBbiBGWmfd642GWGA7MtNY8jZZaLqkdwlwtqLqQvcik3J1EMLVr7dDcyqC0CbO2UDMzeXwiTa3/
   t4o2kNZSbpYDt8ioZZMuzDQVVUxURhX3flqxJaeLvqvJwRnMuppg6yU3W6jdPUtd9x2cRqYDwyi9ZRWVMndepG6MXtm3i3J82mV8wXJUBiCD+pvhqtIWGue4tioaJRVFY0gdcg==




                                                                                                     File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]pay.ebay.com[fs]rxo]]_Tue,-23-May-2023-20-10-27-GMT.mhtml

   Hash (SHA256)
   4cc662f3c677af7cca7b43f124a2e39b52fbc90de2a03eb7fe5b3a89fd0dff07

   Signature (PKCS#1v1.5)
QSNqCs4WytT/lvm54AOfBi1RYaWCcVhY2Wcg+X7236U5NgLxo1CB1lNiou27fsDusxiioaJJ2Ws7BQA1CvomWJ2OBpwsUR3gmWebi8jdg6zV86H4wnVtc1JsccB+6NR1mSQkMrnB2UNop0TtPjMvdL73UP74j/zscaICfrMbOemighjBzhdqee/u2dWAaZhzGcSg6ddQz1zF/tkp8As/l
+P/2cHTPfgwoyPz+Y8JuYKNYQLlkAqIlckjVaUWdIYQ3IYQ3qGFT1uFYPbwh45hmDvkxr8aoEaaj1YS1MUU94iRHjqpiq4T8bCEThYhoWY7eh2vF6ps6OLuRkoJMroAYg==
                                                                                Case 1:23-cv-22385-RKA Document 6-6 Entered on FLSD Docket 06/28/2023 Page 10 of 21



                                                                                                                                                                                  Investigator Name: Chris Stavrou




                                                                              Evidence Collection Report
   Page Title
   Ohocut Cute Smiley Face Rug, Round Rug for Bathroom, Bathtub, Bedroom, Yellow | eBay

   URL
   https://www.ebay.com/itm/364294519341

   Collection Date
   Wed, 14 Jun 2023 08:18:38 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   185.230.113.27

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   lwIBtm3Dgrq9LpUiUh/t0OFLCsaOt4V84xZN5fHxgCBGOOFaxDCszU7IPjDZlakU2cI4geYou1AgVr+b8NRvmV0qN21V5OuDIXlbPr5G+ILlTmsm1mp+vaP4sBeGdXKJvBRaqykR9CYWe1usd+Cslrju/lBdauE0FXWDGB2lzUc=




                                                                                                         File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.ebay.com[fs]itm[fs]364294519341]]_Wed,-14-Jun-2023-08-18-38-GMT.pdf

   Hash (SHA256)
   58c49eb01637f5b30aec882164f99ce411510b90aff77baf8ec19850443b73b2

   Signature (PKCS#1v1.5)
ogD16Wh/rkJMkwXuhdrruPcpTX/e5ttNJ/ProQhNGHbZIuPinU6+ArWv143A0XnE4Y0bx5z50gHyeyTaH1AIlw09mL4PMJDgyMkXkU+NrzlWaGuzYqzVLc3/XdXLLofG7uMbEYgZFCL8ZjxQG3luqu5QBvKrVlwXVTxpkU7meHw=
                                                                                 Case 1:23-cv-22385-RKA Document 6-6 Entered on FLSD Docket 06/28/2023 Page 11 of 21



                                                                                                                                                                                       Investigator Name: Remmel Jae Inabangan




                                                                              Evidence Collection Report
   Page Title
   Checkout | eBay

   URL
   https://pay.ebay.com/rxo

   Collection Date
   Wed, 14 Jun 2023 16:09:47 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Remmel Jae Inabangan

   IP Address
   110.235.180.107

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   lmeYVqDsfVVRV8QmMRZUCEMe5EX3SQGaQrdLzJGDdCs5H2hTJcUSqs5G9TMQUlilLTmJ6qbclz26KaVr9ysFAm46s5PbqYZywsg4b5V9Ycjt5VX05/8fQhJOkDQu7TQ6fW6omw6VCcZcArx8s43bEXlPsap7DlbPaYW78vLU43Kur9uiJ
   +vQ6GnjMUsfVVmfgk5T6L4N8p6uayHcLO3Nevb7BOddSs+rvX3CwB7fuyTZmoBSPHqAmXWjcsOTK3uVPmpsXD7gPRl2zLZVTQcwEZNoob81v69zX9VE5ZXkXarqzTx77PkG8220OjGJYj4tu6jqCfrCPLTE8DqZoKHgrw==




                                                                                                     File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]pay.ebay.com[fs]rxo]]_Wed,-14-Jun-2023-16-09-47-GMT.mhtml

   Hash (SHA256)
   4dc64ad8b5db1541dd27b7d16602d276c958769d05ae3415611a2c0ce1603c4d

   Signature (PKCS#1v1.5)
MpKIegawkNisRYn7lwfSxTlR2Iy0QLNWfppgcL6D7t0WKWXySNgI5HolhyMsLA9Qw4JKjKx0olb65M/AruL2uKnbnR4SLTHx9o5jZ2OkP+2OBfh2DHTkpv1kZCnVm3clkQ1mX4e0re3G/6hIQpvkKV8/J/IIrKrfRnKAGh/
wdD1iNmGCd8of0yi612rY9QFTvhxSpvC8mZCmDl4M4PUmoosayNhwiFzpdwS/GUJ0OrilchIDCKWxV4L3lN5m9cIEu19NyJQzvX/bs3/wlm4jec1DYbQiN4G3k1BVTnSjA5zZIx9ugzYsJooT95JTWEtoxsVpb+d1auu1lbISwNV37Q==
                                                                                    Case 1:23-cv-22385-RKA Document 6-6 Entered on FLSD Docket 06/28/2023 Page 12 of 21



                                                                                                                                                                                  Investigator Name: Chris Stavrou




                                                                                 Evidence Collection Report
   Page Title
   Retro smiley Mama t-shirt, mom shirt for Mom for Mother's Day, Mama T-shirt, Shi | eBay

   URL
   https://www.ebay.com/itm/285221430455

   Collection Date
   Wed, 10 May 2023 04:54:11 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   185.230.113.27

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/112.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   qXYY2R+vc/NdQX+KwfGpaKxryl4Aim+VnQds0GgT2J9L2YyMD40iG+SHbfd2/x2GLIqlnPvA57te9gGnacElTj6i2waKsV0BF1dldGREA+AoBnMFOcnUGwYIxmKpwLyNTrJ0i90awPI+Mm1uxpsk0KEy+jS2UcKmFb9upgyjiyA=




                                                                                                         File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.ebay.com[fs]itm[fs]285221430455]]_Wed,-10-May-2023-04-54-11-GMT.pdf

   Hash (SHA256)
   e2217e3bca97938757941b6ac6b1434eda304b625f471becda0af21d8d195237

   Signature (PKCS#1v1.5)
i8dUBbXi2AntQ+psM8LvvDKTuyR58UR9WVNDliSoSSqn5If4PA78xu3/93+UH7rVl2T+WUE6HXgQT/GZPpTAt8Dkop7XLIiAGJIYW5vH8C1SpeoIJiJ379npw7zBI36dLi+TpmuqpT2jW48HN5KKjx8o6eodyogRRp6hI4WcdKo=
                                                                                  Case 1:23-cv-22385-RKA Document 6-6 Entered on FLSD Docket 06/28/2023 Page 13 of 21



                                                                                                                                                                                                       Investigator Name: Remmel Jae Inabangan




                                                                               Evidence Collection Report
   Page Title
   Checkout | eBay

   URL
   https://pay.ebay.com/rxo

   Collection Date
   Fri, 19 May 2023 10:23:36 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Remmel Jae Inabangan

   IP Address
   2001:4451:44e7:d400:9c74:8d70:8bf6:793d

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   D8dUESxVR97owIJJQsRBwY2RmhDYz91vICwqofy9dQajUFvCJJ+mB0fqksdl3XjVD0fs7GU0Cf4xnXg10yg+8Aj/FDr5Rv/197whzpyCQGWMP+3bYSw/xCrCPoyQ6stOqibWfePbm917+jk0oXGk8up7eHm/cZg
   +ZyYiHgFWsJ4FjB8WPrMWq9sY094T0p2AHQZkQmidbdTtb1w3msIm4TeLPsdxMhGi0yQ+z5aYqCGTw2YQZaG34dpTeQt3zeJpHS82DTyxkk6i55/UgJOtUuJCZuiCGb+DFUjs+6cdYGVfMfZVmqMpmNrZh/JrzFO1HeoI6UOwbTaxEd0sfuErWQ==




                                                                                                     File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]pay.ebay.com[fs]rxo]]_Fri,-19-May-2023-10-23-36-GMT.mhtml

   Hash (SHA256)
   744e9e1287787868149baec458a60771a8b5386cde9595f626a9bace784fdddc

   Signature (PKCS#1v1.5)
QTi6GP5OpQOEoVji33lVmcMG8YbVaPo+8Cw2NA1hEva9q4lPF0JbpCB24woBC8+pg9zrFEQu3F7Bz+ivRXOE+uLVjjzYGXGB1DCc0Weg44VfkigWj0ZICZQyh4bFoNgkcb/0yJnzbnJPuK5APA0CR5NqbbAoBXzHZ+dgWxno/ZR7fXkJnbhugjZes/3OxX0iEM1gdulI/
uz1FNaaVewPDNJr8VOTIJ1tnDNKlpCO2wYiJHG6cBp+bXsMmcWWGD6q5f9dM8pLI7wMYP9mygHB+ky5G8b+P9A5Tw4t5sqSxv3V1hXKxsaxNg4WMn5Ckg4D/gRjFsHsdMRm54r+fPExgg==
                                                                                Case 1:23-cv-22385-RKA Document 6-6 Entered on FLSD Docket 06/28/2023 Page 14 of 21



                                                                                                                                                                                  Investigator Name: Chris Stavrou




                                                                             Evidence Collection Report
   Page Title
   Smiley Salami Pizza T-Shirt | eBay

   URL
   https://www.ebay.com/itm/314575419983

   Collection Date
   Tue, 09 May 2023 06:42:31 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   185.230.113.27

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/112.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   Z7WR3YZSD3AqCv4dx2lTK274Vhv5b73Lc0duNMiTUfl6H1XLf5BjPYGn07awQFLng0M0D9NWOdto/XcJTjVVdYgjTZZRp1Bdc4O3Ofa8I3FzrE44Rx/4bK97enhiMncEy3/W4la+jK2PcdjNP3/7Mk2XVQvy++rO/c2NycRZgGE=




                                                                                                         File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.ebay.com[fs]itm[fs]314575419983]]_Tue,-09-May-2023-06-42-31-GMT.pdf

   Hash (SHA256)
   fc75e0afa9afad4eba260d2397c102ad675b5301ed4a21458d6e9ae1751f9920

   Signature (PKCS#1v1.5)
iAVTE/MvHkcsMSMTwxPoQv9pCayyhzGmNmq/y6YLqdnSFQDixLaPVf7zrFDPRifc4tC2/tZLi1ytxWzXaJG7WIsYVtrYdz7xbWrrb5q5dwVBLc7SgrCzCCReY9hcjC4+KVTDtRQ9cq6B7TVsSZES5iRc+NYW/bsasunft08FYu8=
                                                                                 Case 1:23-cv-22385-RKA Document 6-6 Entered on FLSD Docket 06/28/2023 Page 15 of 21



                                                                                                                                                                                                        Investigator Name: Remmel Jae Inabangan




                                                                              Evidence Collection Report
   Page Title
   Checkout | eBay

   URL
   https://pay.ebay.com/rxo

   Collection Date
   Tue, 16 May 2023 21:44:08 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Remmel Jae Inabangan

   IP Address
   112.200.71.102

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   POpqOOjb96WdvmXjRCgTQZ295tLNzGnj2UfLz8nKZTaO1U5pDUayEKAdJws/7wd8lInioOezxS0+v9uR/9O6IZPxu6LmZP/tCEWtahuc+4DCtDQeGAT9PTVvP2/s7tetiV+gvqt3h7qoRulKY6xbSmSAA0899pBWZeOiHDZ9S+SAlqqrZkwRpv6nW+s+xdwrjZ
   +uovSoCHq7K8RmebxN4DuANWtf7eLBLC5WVqJ5zNSWyEgPOq6IALraDvGOrNl4iymRTCMkWWrs5NFVTFBWyOqAr3AAuQuUfOhOIXrL6qVizCo+csb0j3xYtWj80qLNSH4QXxNJTKmmwc6oJxSWdg==




                                                                                                     File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]pay.ebay.com[fs]rxo]]_Tue,-16-May-2023-21-44-08-GMT.mhtml

   Hash (SHA256)
   46f1f7f51067743994c520d52d61163580f1c2c56ee642f955c4d7b131a9b31d

   Signature (PKCS#1v1.5)
dmSW+blMORTff4rW6KirtxxqI39kdinzs+eieN2gMMvuKyUUz2Ox7x47kDnQECTbHNdzrvN7Dbe1hdm6DGWzijxkIP2cuTRynErxBViQCRUhNgJEF4UmNhsEnG3vT0+fKnMktfCASLg
+DwtxLdL7wDR2bTI0nYPE4x248NIelJMwD5vjJZHDRh9Ue2I4FvFZwaT63Xp1TBH0uJnfoKEs3tfvtOHLI35mQxyWujB7dkMkOcK6lJlf0BMZxFLuIJ5H4A1Xfy+PwPyBcX/EZW8nu95AhE1XdewVWuMQ5OrhfdLGCcpaW6UWheyeZQL6ZLjh+SDuW+IcnAM134o1FnBK/Q==
                                                                               Case 1:23-cv-22385-RKA Document 6-6 Entered on FLSD Docket 06/28/2023 Page 16 of 21



                                                                                                                                                                                                    Investigator Name: Remmel Jae Inabangan




                                                                            Evidence Collection Report
   Page Title
   Smiley Flower Charm Silver 25mm Hoop Earrings, Handmade Fashion Jewellery. | eBay

   URL
   https://www.ebay.com/itm/165681216914

   Collection Date
   Wed, 24 May 2023 13:35:39 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Remmel Jae Inabangan

   IP Address
   112.200.71.102

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   iFwUL6G+qG/bw+93rBxUP0a5bkWrj9Sxc2e4VE/bDDt34ycu+0ZzYu/uhwUT3erH0bEgARhFyCdL/arskElg78XCKwWXAWU3rADgakLaGSbLEvZ7onmpC5EaTxXYBWKD/YZhEZfEBj++UXXeYV14Lebwfch08En9hCLgDVYshEdbOaP3AfCgXnDHGk3/rC
   +ZVqPZgCPzC65vF0co4XGJtxBrIEAd9ESIZOeP74ANyijMOiIFlttno9EvSGuS57nl38MSkEeaPjhPS3/e5Tnmw+D/nSqjIFZicGjLzP0PKII7BmL4wR8X2l2Fb6FIxFOp8/QZyFa2vlrDYQz+trgSCQ==




                                                                                                     File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.ebay.com[fs]itm[fs]165681216914]]_Wed,-24-May-2023-13-35-39-GMT.mhtml

   Hash (SHA256)
   74b9abf533a7a3229b1c0a01db6afee0c4d37a44acb157f1edc44f9707270f87

   Signature (PKCS#1v1.5)
TJP5fpE8NCuZsaCUmmwM+5xITmrqan7rikZYwpEiAxDlLdmL00sWJ5LpkLsUxWVvcIssKG8/uArXG6t8VsJexfbfurKiITJ5/Sh7HcqwZTCvC5spwuuLyCl8G0aoV31KCXiPQHdXnKsAVI5DILTlWdXj+U2Pa/nebq9D
+N118Am3TyFgDwV13+rWpeQA7LNMr5PLAdlKArru9oRgrSfqg9QQmBvnQ6qz3by+qT+Qdv+BTekQkMt2Lz2YU5U0NIfvll4sN1s3kFlEQozucBMFSV5woTWZuZC1nZBYAiEqyxHb2Dws6bPaJkeh9ibuPKfLMOhaBFSBBN7BD2gTOKZ52A==
                                                                                Case 1:23-cv-22385-RKA Document 6-6 Entered on FLSD Docket 06/28/2023 Page 17 of 21



                                                                                                                                                                                                         Investigator Name: Remmel Jae Inabangan




                                                                              Evidence Collection Report
   Page Title
   Checkout | eBay

   URL
   https://pay.ebay.com/rxo

   Collection Date
   Wed, 24 May 2023 13:41:44 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Remmel Jae Inabangan

   IP Address
   112.200.71.102

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   nDEAt80TE+bcmavePIkn6VoXntZ3as5I/wARmrgXWreMwOrvM/84iXHIMh3cFbbEIkuwoitAdpkryaV7DvR757Xnphh4bijsb7RYQrelHWkOw6TfqFjFsWttq6wbFjrTgsJ0rMyqKQUWcCButJtQA7aDJdnpu0gksEXk9L3/HVUSDgBMgPGpilrSCZBIcw/bI0/qz/C6Nh41d2PY
   +91yBKGOVSsJBMHM4CGIUkJILpZTMMEiaWIAPjpcs7W9E5DUKsoDyddcLUQ9/WOK3RW4edEhMrS4TCUJIoi8gdl+dh+60oziAuNBsrmZvAdYTR1HCcOWmuwDREkRakZwPJoLKw==




                                                                                                     File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]pay.ebay.com[fs]rxo]]_Wed,-24-May-2023-13-41-44-GMT.mhtml

   Hash (SHA256)
   5ca4cbd81cfa60f875d9b9d174800e93fbcb4c1ac3b1229f2f29189c7a0e81ac

   Signature (PKCS#1v1.5)
YxF8MjGvnyfr2Mxuq3XpGjKfDquzVbFFAIaSwwpGwx125lyo9oP1Wc7NqiERha6ZT8bKiTHhqHIz/aWUM+p8VjgTA6HSptuU/eklQ1xIZkmg5R5yWt2br9BWADlDL5tM5y0gc93iVpBd8ggXGamMYfrE5p6o8+OmoEV2mhBpwQEdLLSMafOsDJ/vIaOA/0cnfXXevN3j5gq6VVmjBBGrGvNGLW9d
+WFfna1MVvMBJJE4qE8lk5hc1Jm+YRZrCyWbb3USMJ38m9x9SpZ5glSL++LAggeRRSgnPegjhYfXhFkTs7CoXu6yU/2+dsCMZ4Zp6hy6ZoFYGeV2DrpzXL3yNg==
                                                                                Case 1:23-cv-22385-RKA Document 6-6 Entered on FLSD Docket 06/28/2023 Page 18 of 21



                                                                                                                                                                                  Investigator Name: Chris Stavrou




                                                                             Evidence Collection Report
   Page Title
   Qualatex 29632 18" Round Smiley Face Yellow Foil Balloon 01ct | eBay

   URL
   https://www.ebay.com/itm/204249321118

   Collection Date
   Wed, 14 Jun 2023 06:45:46 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   185.230.113.27

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   ND8hHngXOhQuX/M2DA0Lygdd9v4lIUIDVAE33q6ZfiewIK7Ql71qN5IeTFmORbanOKmG11ikqQMkoLG08briY+p+WFcdFrFN7PBaAY/v/ZDHRhmC/Awhrih/kWUxUIFKlS9OJ/EyoNxMNtRDu01n/XWChhu3Bb7vf+6N0A05Cew=




                                                                                                         File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.ebay.com[fs]itm[fs]204249321118]]_Wed,-14-Jun-2023-06-45-46-GMT.pdf

   Hash (SHA256)
   f04fcf4484d1010d38fc206afc070e0a057990a63cb1316281b7892bf771fbe3

   Signature (PKCS#1v1.5)
ZY4jAMgNlG37dUd2sz7+BafZXsM60OE2f3pFOOk+WvQISlNG69iFnw9uDRoRUBDFnZEWJRETWwE73MdKDcyQkjMNAWIUKJv7XO5zDN8pTynBbCvUuCCz2CBE19HowXs23VErfFD6a9sMAqbmZM2TSwpWYrrdRUot9709/sy4h9I=
                                                                                 Case 1:23-cv-22385-RKA Document 6-6 Entered on FLSD Docket 06/28/2023 Page 19 of 21



                                                                                                                                                                                                             Investigator Name: Abtahi Rakin




                                                                              Evidence Collection Report
   Page Title
   Checkout | eBay

   URL
   https://pay.ebay.com/rxo

   Collection Date
   Wed, 14 Jun 2023 17:03:45 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Abtahi Rakin

   IP Address
   27.147.190.179

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   DnF7nwsOMAVkJRglvH3xr09JzLeOU5qYg6PRw6devP7yOClL+b/9SYysELroq60K74MtcHYp5vdyph6rLbz/9mfhC6ioTy+JrV/f4xS5/YLiW1GL1TeyHHnD7Ns1WoDsD2lSSqrS9vvkoIGVZQkxOx0u18mlCIsvESDMTQhgMLri88b3VehnglazT/cnM3WJk8R0GKoxjihav9UWFv+WYqmNR/
   YHemZD8MZkgNUaPGzM+Vj2F2A7LIk8KYsR27jGvYdqeo8kC89npYJvC5cmGaSO0rwwpG7kDuYVhjhasgFT3gBwawrXokdGNZG6413rW56SNY85GdTy5UL3qCFgTg==




                                                                                                     File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]pay.ebay.com[fs]rxo]]_Wed,-14-Jun-2023-17-03-45-GMT.mhtml

   Hash (SHA256)
   24f3cf3c30bc0e612fa6ec17750b5d5d98645821e51c863278bd9b91526a6058

   Signature (PKCS#1v1.5)
qJrwQR/vGO+g16lRmsJuMY0GM1dQLBcNk+YtaRRVXG08DF65a78rfZPlp/B9Cc5jIqjDR8nUe9LaqELjTzKgMTyX0HWjSJpGOv9edVSA6T45MVU5GKaqyL7OxxH1ya5qtmwE8soPUQRtj6C9Z5WvVDiQg02g1Ot57njybFeB4pnhh3LYZNmSHNTB0yWE0gE5ypRFNHjTieGfsE9XbxOhvbw
+BDUEFJImSQ4XJIe8ROd6WahTNw5zVmRWnfsSh1eGg+6pC4C85Ex3069Ok5bKY3ahfZpfh7n7pXNQr39ACGLPGJFYaSv8IYv61aR5OdQdmFwyyjZ7qA2i2d6L56SBug==
                                                                                Case 1:23-cv-22385-RKA Document 6-6 Entered on FLSD Docket 06/28/2023 Page 20 of 21



                                                                                                                                                                                  Investigator Name: Chris Stavrou




                                                                             Evidence Collection Report
   Page Title
   Smiley Face Silppers Women Comfy Warm Plush House Shoes Non-slip Slides Slippers | eBay

   URL
   https://www.ebay.com/itm/364066781818

   Collection Date
   Tue, 09 May 2023 10:26:44 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   185.230.113.27

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/112.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   DReE/r+OV3Zob+Dy7cFp97K9jsZ+7CAt2uhbcfNC4zRELbfywXiO8wG87AreU6+zZ7RSgy5txca8Lkrwh6cRh2WNPEvZ6a2mBRrqo2YuePUGhX0zTq6ypbkP5fI8aBIoC7FjQ7EDwyXBejBM7Q/Y69gfjKOMIOL5uggD46QkQx0=




                                                                                                         File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.ebay.com[fs]itm[fs]364066781818]]_Tue,-09-May-2023-10-26-44-GMT.pdf

   Hash (SHA256)
   4b5983e6fb08a70f5e88f27cc0ae218e9667cbaf4fece4774c1f5c6ed42c9c68

   Signature (PKCS#1v1.5)
HLnMWZaB3JlF7WqZ6rMuTo4dEDH6SUxCwZI4aZx+bZZrTC5OrSSSAjXvXGbZJOQYVgxZu7gnWMmqOvjt0sjFwwn2TZuIrSA1NkJDo8CH3QssLeauqAITFmKMvvsQoYUoieoWDH6vOfzw+x0rSNKULp+9KSeiY9CJnVRPVfXDDvI=
                                                                                 Case 1:23-cv-22385-RKA Document 6-6 Entered on FLSD Docket 06/28/2023 Page 21 of 21



                                                                                                                                                                                          Investigator Name: Remmel Jae Inabangan




                                                                              Evidence Collection Report
   Page Title
   Checkout | eBay

   URL
   https://pay.ebay.com/rxo

   Collection Date
   Thu, 18 May 2023 09:37:25 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Remmel Jae Inabangan

   IP Address
   2001:4451:443c:6a00:cd7f:3904:b9d9:67a5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   ntyyFaxJY/7jLzYA+8Mv8uyxUoDMm+Rpy4ZHnyIG78KVpRs0GLmKr6Cc5o2MR6C51Atd+Mox5fwdnC8N+321m46NlpwHg1kcuGfYxwyrTABjgRDKW+U/0+CukhhkBQgS4nThki5VjD/Xj08rAHUb7tim9OR8RwH731SBZoEPsnGe+EYZuxMI
   +mpdgQNCXWdiXIBV1hmps5wouIxIj4bNpZYAaReHp7TGdd4HRLimOHqEEmXVeY5J7+ppehbp2lrFtog8ADBHizdqNcDume8w7KkP6CsbeukMzOf5GTcOL986PN48heg/0xhyJJOlDcqYrNnV4XVm5z3jujfVOH5sHg==




                                                                                                     File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]pay.ebay.com[fs]rxo]]_Thu,-18-May-2023-09-37-25-GMT.mhtml

   Hash (SHA256)
   5910fba5e88a95a77fd19dfd1fadbdc4b047c56f264e60bd6ab2f7d20a12659d

   Signature (PKCS#1v1.5)
KmdDw6gLUwVm/bIRtYcs33x/6v8Zqs9eh9dF/L1j2O4DMDZ7h5oE3EXOjkzpHyyMw5YWKxQzR0Qw2dhtHquQ1GL9waZwmgza3IKkUt/kRqNsKmBQ/nhaPp6YI0eV/2yO8xDeMnFcYMwO4Dhy0guM0HJLd4ggu3mxGpWBk5/zw9g
+EDNJkvrEJt1XaWXWWDnRNXYpTEqSRochYhsdlDENHpa2U9UEYaRG+z/7qdoGh/PJpW8CNN0nH62k4BgvUaxEpxaBC0ugAuvHSQbpSEcUxUo9VNMtKW+oBzCWptrxBgT8JrQ1JH3cox0iF4Is7UmHt3QjdAH20j18N37E7Jndtw==
